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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 STATE OF NEW YORK,

                                  Plaintiff,                  No. 20 Civ. 1127 (JMF)
             -v-

 CHAD F. WOLF, in his official capacity as Acting
 Secretary of Homeland Security, et al.,

                                  Defendants.


 R. L’HEUREUX LEWIS-MCCOY et al., on behalf of
 themselves and all similarly situated individuals
                                                              No. 20 Civ. 1142 (JMF)
                                    Plaintiffs,

              -v-

 CHAD F. WOLF, in his official capacity as Acting
 Secretary of Homeland Security, et al.,

                                   Defendants.




                           DECLARATION BY PETE R. ACOSTA

I, Pete R. Acosta, hereby state as follows:

    1. I am currently the Director of Trusted Traveler Programs, Admissibility and Passenger

        Programs, Office of Field Operations (OFO), U.S. Customs and Border Protection (CBP),

        U.S. Department of Homeland Security (DHS).          I began my career with the U.S.

        Immigration and Naturalization Service in 1996, specifically assigned at that time to Los

        Angeles International Airport. In 2007, I transferred to a position at CBP Headquarters

        in Washington, D.C. I was then the Director of the Immigration Advisory, Joint Security,

        and OFO Police Liaison Officer Programs for the period spanning from 2014 through
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   2017. Since October 2017, I have been employed in my current role as the Director of

   Trusted Traveler Programs.

2. In my role as Director of Trusted Traveler Programs, I am responsible for establishing

   policy to ensure that individuals who apply for participation in one of CBP’s Trusted

   Traveler Programs meet all appropriate qualifications for the program and do not pose a

   risk to the United States. I am therefore responsible for executing the missions of CBP

   and, in particular, OFO. The CBP mission includes the enforcement of the customs,

   immigration, and agriculture laws of the United States and hundreds of other laws on

   behalf of numerous federal agencies.         CBP is the primary law enforcement agency

   responsible for securing the U.S. border at ports of entry (POEs) and preclearance

   locations outside the United States, while also facilitating lawful international trade and

   travel.   Among other things, OFO is responsible for coordinating the enforcement

   activities of CBP at POEs to deter and prevent terrorists and other criminals from entering

   the United States. The Trusted Traveler Programs (TTPs) are a key part of CBP’s law

   enforcement mission and are designed specifically to facilitate lawful travel by eligible

   low-risk individuals.

3. I am familiar with the complaints filed in State of New York v. Wolf, Case No. 20-cv-

   1127 and Lewis-McCoy v. Wolf, Case No. 20-cv-1142, filed in the United States District

   Court for the Southern District of New York and plaintiffs’ claims therein.

4. The Purpose of this declaration is to comply with this Court’s Order of July 29, 2020 (Dkt.

   No. 92) with respect to statements in my declaration filed on June 19th in the above-

   captioned case (Dkt. No. 68-1) (“Declaration”), which requires me to: “describe with

   particularity (1) how the prior declaration came to include such statement or statements;



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   (2) what steps [I] took, prior to signing the declaration, to confirm the accuracy of those

   statements; and (3) when and how [I] learned that the statements were inaccurate or

   misleading.” Dkt. No. 92 at 6. In addition, I am providing a clarification regarding the

   declaration signed by former Deputy Executive Assistant Commissioner, Office of Field

   Operations, filed with this Court on May 21, 2020 (Dkt. No-55-3).

5. I provide the facts and information in this declaration, which are true to the best of my

   knowledge as of the time of signature. Moreover, I have directed those who assisted in

   the preparation of this declaration to ensure that all good faith efforts available were taken

   in the short time available to the agency to address the Court’s order.

   A. Statements that Implicate Access to Driver History Information through the
               International Justice and Public Safety Network (Nlets)

6. The following statements in my Declaration require clarification based on the information

   that came to light after the declaration was signed:

      a.   Paragraph 18, first sentence.

           “Since the inception of the Global Entry program in 2008, CBP has determined
           whether each applicant meets eligibility requirements for membership by checking
           the information supplied by the applicant against information contained in various
           law enforcement databases, including DMV records, and conducting an in-person
           interview of individuals who are conditionally approved.”

      b. Paragraph 20.

           “In addition to the above databases, CBP queries Nlets for driver license and
           certain vehicle data. [FN 7: Such driver license information includes—but is not
           limited to—customer name, date of birth, mailing address, gender, and license
           status. Vehicle information includes—but is not limited to—data such as year,
           make, model, vehicle weight, vehicle identification number, vehicle registration
           number, effective registration date, registration expiration date, status and certain
           vehicle related criminal and offenses.] CBP does so regardless of whether the
           Trusted Traveler applicant has provided driver license information or whether the
           applicant has indicated that he or she has a driver license. Nlets query for DMV
           information captures information in the applicant’s state of residence as well as
           information from several neighboring states, to the extent such states allow CBP


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      access to DMV information through Nlets. In instances where driver license
      information is not provided on the application, Nlets may be queried by using other
      information that the applicant provides, such as his/her address. This permits CBP
      to validate the applicant’s identity and to identify certain information pertaining to
      vehicle-related violations, even if the individual does not have a driver’s license.
      Driver license and vehicle data allow CBP to detect information regarding
      violations that the applicant has failed to disclose, which could include driving
      without a license. Along with the information obtained from other law enforcement
      databases listed above, driver license and vehicle data help CBP to develop a
      complete picture of an individual’s background and determine whether that
      individual satisfies the low-risk status requirement for membership. The driver
      license and vehicle data in Nlets is the only means for CBP to obtain the real-time
      and accurate versions of such information.” (Emphasis added to highlig ht
      statements that require clarification.)

   c. Paragraph 22, fourth sentence.

      “Currently, New York is the only state that has terminated CBP’s access to driver
      license and vehicle data via Nlets, impacting CBP’s vetting of TTP applications of
      New York residents.”

   d. Paragraph 23

   e. “Without access to an applicant’s driver license and vehicle data, CBP does not
      have complete information about an applicant for a TTP. Specifically, CBP is no
      longer able to access information regarding certain vehicle-related and other
      violations that only the DMV maintains. While CBP is still able to view certain
      criminal vehicle-related violations that are reflected in other federal law
      enforcement databases, real-time, non-criminal driver license and vehicle data
      about New York residents, as well as some aspects of any New York applicant’s
      criminal history, such as misdemeanor traffic arrests, are only available through the
      New York DMV feed to Nlets. In addition, CBP checks the information obtained
      through Nlets against other law enforcement databases available to CBP to
      determine whether the applicant presents a risk. Such a gap in information
      precludes CBP from being able to conduct a full assessment of whether the
      applicant is low risk. This is true even if the applicant does not have a driver license
      because individuals without driver licenses could still have a record of violations
      with the DMV (e.g., driving without a license).”

   f. Paragraph 26.

      “Without access to the information maintained by the New York DMV, CBP can
      no longer conduct comprehensive vetting of any New York resident TTP applicant.
      As a result, all pending TTP applications for New York residents were cancelled
      and application fees refunded as those individuals could no longer satisfy CBP of



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           their low-risk status because CBP could not undertake a complete assessment of
           any of their applications without the driver license and vehicle data.”




     ACP/WPP
7.




     WPP
8.




     ACP/WPP
9.




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      ACP/WPP
10.




      ACP/WPP
11.




      ACP/WPP
12.




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      ACP/WPP
      ACP/WPP
13.




      ACP/WPP
14.




      ACP/WPP
15.




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      ACP/WPP
      ACP/WPP
16.




17.   WPP
        a. The District of Columbia, one U.S. Territory (Puerto Rico) and all states except

            New York provide responses to CBP for Driver’s License query (“DQ”).

        b. The District of Columbia, one U.S. Territory (Puerto Rico) and all states except

            New York, Hawaii and Missouri provide responses to CBP for Vehicle Registration

            query (“RQ”).

        c. The District of Columbia, the U.S. Territories (Puerto Rico, Guam and the U.S.

            Virgin Islands) and six states (New York, Connecticut, Florida, Illinois, New Jersey

            and Hawaii), do not provide responses to CBP for queries for Driver History query

            (the query referred to as “KQ”).

18. WPP

                                                                      I was not aware that CBP

      lacked full access to any state’s, territory’s or District of Columbia’s DMV queries that

      are used for TTP vetting.    WPP                                                   I now

      understand that Driver History Query which captures certain vehicle-related violatio ns

      and is used during vetting of TTP applicants, is not available from the District of



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      Columbia, the U.S. Territories (Puerto Rico, Guam and the U.S. Virgin Islands), and six

      states.   ACP/WPP


                                                                        While the Driver’s License

      Query (“DQ”) is relevant to TTP vetting for various purposes, including to confirm the

      applicant’s identity, TTP uses disqualifying information that may be derived from Nlets

      Driver History Query (“KQ”) for the assessment of an applicant’s eligibility.    WPP




                           B. Clarification on Driver’s License Queries




      ACP/WPP
19.




                Paragraph 20.

                “In addition to the above databases, CBP queries Nlets for driver license and certain
                vehicle data. [FN 7: Such driver license information includes—but is not limited
                to—customer name, date of birth, mailing address, gender, and license status.
                Vehicle information includes—but is not limited to—data such as year, make,

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          model, vehicle weight, vehicle identification number, vehicle registration number,
          effective registration date, registration expiration date, status and certain vehicle
          related criminal and offenses.] CBP does so regardless of whether the Trusted
          Traveler applicant has provided driver license information or whether the
          applicant has indicated that he or she has a driver license. Nlets query for DMV
          information captures information in the applicant’s state of residence as well as
          information from several neighboring states, to the extent such states allow CBP
          access to DMV information through Nlets. In instances where driver license
          information is not provided on the application, Nlets may be queried by using other
          information that the applicant provides, such as his/her address. This permits CBP
          to validate the applicant’s identity and to identify certain information pertaining to
          vehicle-related violations, even if the individual does not have a driver’s license.
          Driver license and vehicle data allow CBP to detect information regarding
          violations that the applicant has failed to disclose, which could include driving
          without a license. Along with the information obtained from other law enforcement
          databases listed above, driver license and vehicle data help CBP to develop a
          complete picture of an individual’s background and determine whether that
          individual satisfies the low-risk status requirement for membership. The driver
          license and vehicle data in Nlets is the only means for CBP to obtain the real-time
          and accurate versions of such information.” (Emphasis added to highlig ht
          statements that require clarification.)

20. With respect to the second sentence of paragraph 20, while available DMV records may

   be manually queried through Nlets by TTP vetting officers to complete risk assessments

   and determine program eligibility and admissibility for TTP applicants,          LEP




                                                            TTP does not, as a matter of policy,

   require that vetting officers initiate manual queries of Nlets for every TTP applicant, but

   as a matter of practice, a vetting officer may, at their discretion, initiate a manual query of

   available DMV records through Nlets. The manual query also allows the TTP vetting

   officer to select a region in order to query multiple states at the same time.

21. The vetting officers are experts in assessing risk and LEP




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      It is, therefore, correct that LEP

                                                 However, the second sentence in paragraph 20 of

      the Declaration requires clarification because such queries are LEP

            Instead, the driver’s license query may be manually done as part of the option to

      query DMV records. Moreover, whether or not such a manual query is conducted is based

      upon the TTP vetting officer’s risk assessment of the TTP applicant.

22. I would also like to clarify the fourth sentence regarding searches of Nlets using an

      address. Nlets cannot be searched solely by address, but rather the address is often used

      by the analyst to determine the specific location or region within which to begin a search

      in Nlets by name. These queries assist the officer performing vetting to determine if an

      individual had violations or other information that would potentially preclude the

      individuals from being approved for TTP participation. This also allows for validation of

      identity, address and others factors that assist in the full vetting of the application. In order

      to be fully transparent, I would like to point out that the address is used to support a search

      and by this statement in my declaration, I did not intend to suggest that an address can be

      used to search Nlets on its own.




      ACP/WPP
23.




24. The inclusion of this statement stemmed from a misunderstanding between myself, NTC,

      and OIT. In reviewing the declaration at the time of signing, I understood that the

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            automated queries run by OIT for presentation to the vetting officers, were run for all

            TTP applicants. (Manual queries of Nlets by vetting officers could be initiated to resolve

            any concerns a vetting officer might have or to resolve discrepancies in their findings;

            however, I understood the initial data presented to the vetting officer uniformly included

            DMV data results.)      WPP




                                           Because of this misunderstanding, I did not raise any concerns

            at the time the declaration was reviewed prior to signing, resulting in its inclusion in the

            final declaration without proper clarification.

                        C. Clarification Regarding Declaration by John P. Wagner1

        25. The following statement was contained in a Declaration by John P. Wagner filed with this

            Court on May 21, 2020 (Dkt. No. 55-3) (hereinafter “Wagner Declaration”):

            Paragraph 7

                   “I am making this declaration for the purpose of asserting law enforcement
                   privilege over CBP information that is contained in and has been redacted from the
                   following 2 documents:

                     a. Consolidated Trusted Traveler Programs Handbook [DHSGLL048-
                        DHSGLL061] [FN3: We have listed the full page range of this document that
                        was produced in the administrative record for clarity. However, some pages
                        within this range were produced without redactions. Therefore, this
                        declaration explains assertions of law enforcement privilege only for the
                        pages that contain law enforcement information that was redacted in the
                        administrative record].

                     b. “FW: Green Light Law” email thread [DHSGLL062-DHSGLL064] [FN 4:
                        While this email thread spans from DHSGLL062 to DHSGLL064, only
                        DHSGLL062 contains information over which CBP has asserted law

1
    Mr. Wagner retired from public service on July 17, 2020 and is no longer employed at CBP.

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                          enforcement privilege. Therefore, this               declaration      only   references
                          DHSGLL062 in the below analysis.]”

        26. The clarification I am providing is limited to the treatment of certain information on

            Administrative Record page 56 (AR 56), which is a page from the Consolidated Trusted

            Traveler Programs Handbook. (The page with updated redactions is included as

            Appendix A.) The information was redacted from the public record filed with this court

            on April 24, 2020, as subject to law enforcement privilege and the applicable privilege

            was described in paragraph 11 of the Wagner Declaration. CBP continues to maintain

            law enforcement privilege on remaining information redacted in the Administrative

            Record which has its own, distinct, rationale for protection which are not at issue here. I

            understand that the agency also continues to maintain law enforcement privilege over a

            portion of information on AR 56 of the Administrative Record for reasons specified in

            paragraphs 9 and 11 of the Wagner Declaration.

        27. ACP/WPP



                                                                                               I also understand

            that based on his over 25 year career at CBP, Mr. Wagner had extensive professional

            knowledge of the “enforcement and administration of customs and immigration laws”

            and he oversaw “various programs and initiatives that facilitate travel and trade,

            including the CBP Trusted Traveler Programs.” 2

        28. AR 56 contains information CBP may consider and evaluate when vetting TTP

            membership applications and query codes associated with such information, as well as a

            list of non-CBP systems that may be accessed for vetting. CBP used codes on AR56 to


2
    See generally Declaration by John P. Wagner, May 21, 2020 at paragraph 3(Dkt. No. 55-2).

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           initiate queries in TECS (not an acronym), CBP’s primary border security system. 3 As

           such, prior to FY17, CBP afforded the highest degree of protection to the codes due to

           cybersecurity risks.    I now understand that, after the modernization of TECS was

           completed in FY17, CBP stopped using the specific type of codes found at AR 56, and

           started using graphical user interfaces. The new interfaces allow a user to click and

           trigger a particular query in TECS.   WPP




           ACP/WPP
     29.




     30. ACP/WPP



                                                                                        These materials in

           the public domain list the actual query code, as well as at least a general description of

           what type of responsive information that query would yield through TECS. For example,

           in several Privacy Impact Assessments published by U.S. Citizenship and Immigration

           Services regarding its programs, TECS query codes are discussed in fairly specific detail,



3
 For more information on TECS please see Final Rule for Privacy Act Exemptions, 74 Fed. Reg. 45072 (August 31,
2009)

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         in the context of those USCIS programs, including the type of responsive information

         that the SQ11 and SQ94 codes provide to the user. 4

     31. In addition, I understand that a list of specific types of information CBP may review when

         vetting TTP applications listed on AR56 was previously published in 2019 in a report by

         Office of Inspector General (OIG) titled “CBP’s Global Entry is Vulnerable to

         Exploitation,” OIG-19-49. 5 The report lists 21 sources of information that CBP may

         query when it vets TTP applicants and provides detailed description of information

         obtained from each system. Information in the OIG report along with the information

         published by CBP in various privacy documents regarding the TTPs,6 leaves little

         information on AR56 over which assertion of law enforcement privilege is justified.




4
  See Privacy Impact Assessment Update for the USCIS Person Centric Query Service Supporting Immigration
Status Verifiers of the USCIS Enterprise Service Directorate/Verification Division, at 4, June 8, 2011,
DHS/USCIS/PIA-010(e), available at https://www.dhs.gov/xlibrary/assets/privacy/privacy-pia-uscis-pcqssisv-
esdvd.pdf; see also Privacy Impact Assessment Update for the USCIS Electronic Information System (USCIS
ELIS) DHS/USCIS/PIA-056(b), at 4, March 14, 2020 available at
https://www.dhs.gov/sites/default/files/publications/privacy-pia-uscis056b-march2020.pdf; Privacy Impact
Assessment for the Travel and Employment Authorization Listings (TEAL), at 3, November 3, 2009, available at
https://www.dhs.gov/sites/default/files/publications/privacy_pia_cis_teal.pdf.
5
  Office of Inspector General, U.S. Department of Homeland Security, CBP's Global Entry Program Is Vulnerable to
Exploitation, OIG-19-49, Appendix 3, June 24, 2019, available at
https://www.oig.dhs.gov/sites/default/files/assets/2019-06/OIG-19-49-Jun19.pdf.
6
  Privacy Impact Assessments, Global Enrollment System, DHS/CBP/PIA-002, available at
http://dhs.gov/publication/global-enrollment-system-ges.

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32. Based on the discovery that certain information contained on AR56 has officially been

   released into the public domain, and the fact that the TECS codes on their own no longer

   present a cybersecurity risk, I understand that CBP determined that the privilege assertion

   over most of the information on that page is not justified and it no longer intends to assert

   privilege over such information on AR 56. As such, CBP is providing this court with an

   updated copy of AR 56, reflecting the revised redactions.

33. I declare that the foregoing is true and correct to the best of my knowledge, information,

   and belief.


                                                                    Digitally signed by PETE
                                                   PETE R           R ACOSTA
                                                                    Date: 2020.09.04
                                                   ACOSTA
                                                /s/_________________________________
                                                                    14:43:20 -04'00'
                                                 Pete R. Acosta
                                                 Director, Trusted Traveler Programs
                                                 Admissibility and Passenger Programs
                                                 Office of Field Operations
                                                 U.S. Customs and Border Protection




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